Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 1 of 36




      IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF GEORGIA
                  ROME DIVISION
                                      :
UNITED STATES OF                      II
                                      I
AMERICA                               II
                                      I
                                      II
                                      I
                                      I


v.                                    I CRIMINAL ACTION FILE
                                      I

                                      i NO. 4:10-CR-32-01-HLM
                                      II
JOHN GREGORY                          I
                                      I
                                      I
                                      I

ALVAREZ.                              I
                                      I
                                      I
                                      I




                               ORDER

     This case is before the Court on Defendant's Motion to

Suppress Statements [33], on the Non-Final Report and

Recommendation of United States Magistrate Judge Walter

E. Johnson [114], and on Defendant's Objections to the

Non-Final Report and Recommendation [120].
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 2 of 36




I.   Standard of Review                   for     a    Report         and
     Recommendation

     28 U.S.C.A. § 636(b)(1) requires that in reviewing a

magistrate judge's report and recommendation, the district

court "shall make a de novo determination of those portions

of   the    report     or   specified      proposed       findings     or

recommendations to which objection is made." 28 U.S.C.A.

§ 636(b)(1). The Court therefore must conduct a de novo

review if a party files "a proper, specific objection" to a

factual finding contained in the report and recommendation.

Macort v. Premo Inc., 208 F. App'x 781, 784 (11th Cir.

2006); Jeffrey S. by Ernest S. v. State Bd. of Educ., 896

F.2d 507,513 (11th Cir. 1990); United States v. Gaddy, 894

F.2d 1307,1315 (11th Cir. 1990); LoConte v. Dugger, 847

F.2d 745, 750 (11th Cir. 1988). If no party files a timely
                                    2
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 3 of 36




objection     to   a    factual    finding     in   the    report     and

recommendation, the Court reviews that finding for clear

error. Macort, 208 F. App'x at 784. Legal conclusions, of

course, are subject to de novo review regardless of whether

a party specifically objects. United States v. Keel, 164 F.

App'x 958, 961 (11th Cir. 2006); United States v. Warren,

687 F.2d 347, 347 (11th Cir. 1982).

I.    Background

     A.     Execution of the Search Warrant

     At approximately 7:00 a.m. on June 30, 2010, a team

of six Drug Enforcement Administration ("DEAn) agents and

local law enforcement officers executed a search warrant at

Defendant's residence, located at 5 East Lakeview Drive,

Rossville, Georgia (the "Residence"). (Nov. 10, 2010, Hr'g

                                    3
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 4 of 36




Tr. ("Tr.") at 5-6, 10-11, 18-20, 24, 26, 39-40.) That search

warrant was one of four the DEA executed on that same

day as part of an ongoing investigation into alleged

narcotics trafficking by Defendant. (kl at 6,23-25.)1

     Three officers, including Walker County Deputy Sheriff

Donald Brown, entered and secured the Residence. (Tr.8­

10, 19, 59, 71f            The officers forced entry into the

Residence through           a locked        screen door on the

Residence's back porch. (kl at 6-7,28,55,57,59,71.) As


     lWhile other officers executed the warrants, DEA Special
Agent ("SA") Christopher Mueller, who is the co-case agent
assigned to this case, was waiting at a strip mall in Rossville. (Tr.
25.) Once SA Mueller learned that the four warrants had been
executed, he drove to the Residence. (kL) At the time, Defendant
was the main suspect of the investigation. (kL at 26.)
      2AII the officers carried firearms and wore raid jackets or
ballistic vests identifying themselves as law enforcement. (Tr. at 8­
10,59.)
                                    4
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 5 of 36




the officers approached the Residence's back door,

announcing "Sheriff's office, search warrant," Defendant

opened the door, and the officers ordered him to the floor.

(kL at 57-61, 71.) One officer remained with Defendant

while Deputy Brown and another officer secured the

Residence. (kL at 7, 58, 60.) Defendant's wife, Comneta,

was also in the Residence. (kL at 62.)

     After approximately three to five minutes, the initial

entry team had secured the Residence and opened its front

door so that SA Frank Ledford and SA David Shelton, who

had been monitoring that entrance, could assist inside the

Residence.       (Tr. 6-8, 10, 20, 57, 63.) SA Shelton was

wearing a ballistic vest with the word "Police" across the

chest and a badge patch. (kL at 8-9.) SA Shelton was

                                    5
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 6 of 36




armed with a 40-caliber Glock pistol, but did not unholster

it while in the Residence. (kl at 9.)

      B.   Defendant's          Statements         While       in     the
           Residence

     As SA Shelton entered the Residence, SA Shelton

observed Defendant and his wife seated on reclining chairs

in the living room, with a uniformed member of the raid

team, Deputy Brown, observing them. (Tr. at 8, 11-12,20,

60-64, 71-72.)3 Defendant was shirtless and wearing

pajamas or underwear, and both Defendant and his wife

had a blanket or sheet pulled around them like a shawl. (kl

at 12, 21-22, 29, 40, 63, 72.) Additionally, both Defendant

and his wife were handcuffed in front. (kl at 20, 29, 40.)


      3Deputy Brown testified that he did not interrogate Defendant
at that time. (Tr. at 64.)
                                    6
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 7 of 36




     Defendant expressed his concern about the morning's

events to SA Shelton and, in a polite, conversational

manner, asked what was going on, what the officers were

looking for, and why the officers came to his house. (Tr. at

13, 18, 62-63. t        Defendant also told SA Shelton that

Defendant had taken ten oxycodone pills on the previous

night. (kl at 21). According to SA Shelton, Defendant did

not appear ill or intoxicated, but was acting lethargic or tired.

(kl at 13.) SA Shelton told Defendant that SA Shelton did

not have the answers to those questions because he had

not been involved in the. investigation, and explained that

the case agent would arrive soon and could speak with

Defendant. (kl at 14.) SA Shelton then advised Defendant

    4SA Shelton described Defendant's ability to speak English as
"coherent and conversationaL" (Tr. at 13.)
                                    7
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 8 of 36




of his Miranda rights by reciting those rights from memory

as follows:

     You have the right to remain silent. Anything you
     say could be used against you. You have the right
     to an attorney and to have an attorney present. If
     you cannot afford an attorney, one will be
     appointed for you. If you decide to answer
     questions now and at any time decide you don't
     want to answer questions anymore, nobody will
     ask you questions.

(kL at 14-15, 72, 77.) According to SA Shelton, he then

paraphrased those rights by explaining, "It means you don't

have to say anything unless you want to, do you

understand[?]" (kL at 15-16.) Defendant stated, "Yeah, I

understand I just want to know what's going 011."                     (kL)

Defendant did not ask SA Shelton to repeat any of the




                                    8
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 9 of 36




above rights. (ld... at 15.) Deputy Brown was present while

SA Shelton Mirandized Defendant. (ld... at 16, 63-64.)5

     SA Shelton did not interrogate Defendant, but engaged

him in small talk regarding his dogs. (Tr. at 16.) Ten or

twenty minutes after officers initially entered the Residence,

SA Mueller arrived with SA David Gilleland. (ld... at 17, 19,

26,28, 39, 64.) SA Mueller's badge was visible, but he did

not brandish his firearm. (ld... at 28-29.) At that time, SA

Shelton told Defendant that "[SA Mueller is] the guy that can

answer your questions." (ld... at 17.) Defendant and his wife



     5Deputy Brown, however, testified that SA Shelton read the
Miranda rights to Defendant from a card. (Tr. at 63, 73.) The Court
agrees with Judge Johnson that this inconsistency is
inconsequential, because the testimony in the record reflects that
SA Shelton administered the Miranda rights to Defendant, and
Defendant does not dispute that fact. (Non-Final Report &
Recommendation at S n.S.)
                                    9
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 10 of 36




were still seated in the reclining chairs, with Deputy Brown

observing them. (kh at 27-29,40.)

      In his experience as a law enforcement officer, SA

Mueller has interacted with people who were under the

influence of prescription narcotics. (Tr. at 30-31, 54-55.)

SA Mueller knew that Defendant had taken ten 3D-milligram

oxycodone pills the previous night. (kh at 13, 21, 30-31,

41.)6 According to SA Mueller, the effect that this amount

of narcotics would have on someone would depend on the

person's level of addiction.             (kh at 30.)       SA Mueller

explained that phenomenon as follows: "So if a person

doesn't take a certain drug and then takes a lot of it, it can


     6SA Mueller testified that a new patient should take a normal
dose of oxycodone only every four hours, and should take an
extended release pill only every twelve hours. (Tr. at 43.)
                                    10
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 11 of 36




have a different adverse effect on them than if a person is

an addict and sustains their habit with large amounts of

drugs." (ldJ SA Mueller also testified that someone who

has taken oxycodone should not drive or operate heavy

machinery and that an overdose of oxycodone could be

lethal, and could cause suppressed respiration and slow

thinking. (kl at 30, 42-43.)

      According to SA Mueller, Defendant was responsive,

alert, awake, and "obviously acting confused, maybe sullen

that law enforcement was in his house." (Tr. at 30-31.) SA

Mueller testified that Defendant did not appear intoxicated,

did not slur his speech, was consistently conscious, did not

fall asleep, did not pass out, and was able to comprehend

what was being said and focus on the questions asked. (kl

                                    11
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 12 of 36




at 31, 52, 54.) According to SA Mueller, Defendant and

Mrs. Alvarez appeared to be in poor physical condition, and

 Defendant complained in general terms that he was not

feeling well and stated that he thought he was passing a

 kidney stone. (kL at 40, 73.) Defendant, however, never

 asked SA Mueller to stop questioning him due to pain. (kL

at 52.) According to SA Mueller, Defendant's pain did not

 appear to interfere with his ability to answer questions. (kL)

 Defendant did not ask for medical attention, and was not

writhing in pain, doubled over, visibly shaken, or frightened;

 instead, he merely remained in the recliner. (kL at 52-53,

 63.)

        SA Mueller introduced himself to Defendant and Mrs.

Alvarez, and immediately asked Defendant if there was any


                                     12
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 13 of 36




methamphetamine in the Residence.                    (Tr. at 29, 43.)

Defendant replied that there was not. (kL.) SA Mueller

turned to SA Shelton and asked if Defendant and his wife

had been        Mirandized,       and SA Shelton responded

affirmatively. (kL.) SA Mueller briefly spoke with Defendant,

who was alert and responsive, and also interacted with Mrs.

Alvarez. (kL. at 32.) Defendant did not ask SA Mueller to

repeat himself.       (kL.)   Regarding that conversation, SA

Mueller testified as follows: "I reemphasized certain points,

but I didn't have to say things again because he didn't

understand me or didn't hear me." (kL.)

      During the course oftheir conversation, Defendant told

SA Mueller that Defendant was "bad with last names." (Tr.

at 44.) SA Mueller believed that Defendant was not being

                                    13
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 14 of 36




truthful as to whether he knew certain individuals. (1d. at

32.) Because Mrs. Alvarez was being more forthright, SA

Mueller separated the two for additional questioning, moving

Mrs. Defendant to an adjoining room eight to ten feet behind

the place where Defendant was seated. (1d. at 32-34,48.)

     When SA Mueller resumed questioning Defendant, SA

Mueller commented about a specific detail of the

investigation. (Tr. at 34,49.) Defendant responded to that

comment and then requested an attorney. (1d.) SA Mueller

stopped questioning Defendant, brought Mrs. Alvarez back

into the living room of the Residence, and made a

telephone call. (1d. at 34.) Defendant remained in the living

room for approximately one hour before being transported

to the Walker County Sheriff's Office at 8:30 a.m. (1d. at 34­

                                    14
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 15 of 36




35, 50, 64-65.)        Law enforcement asked Defendant no

further investjgative questions during that time. (kL at 35.)

      No threats or promises were made to Defendant or

Mrs. Alvarez during the above events, and they were not

yelled at or treated inhumanely. (Tr. at 17-18,34,36-37.)

Additionally, during the course of the above interactions,

Defendant requested a T-shirt and a Zantac. (kL at 35-36,

46,51-52.) SA Mueller complied with those requests. (kL

at 36, 46, 52.)

      c.    Defendant's          Statements           While       Being
            Transported

      On June 30,2010, at approximately 3:00 p.m., Deputy

Brown transported Defendant from the Walker County

Sheriff's Office to the Floyd County Jail. (Tr. at 35, 64-65,


                                    15
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 16 of 36




74. f Deputy Brown handcuffed Defendant in the front and

placed him into a patrol car for the fifty-minute drive. (kL at

65-66, 74.) During the drive, Deputy Brown and Defendant

were separated by a metal screen between the patrol car's

front and rear seats. (kL at 66.)

     Ten minutes into the drive, Defendant began making

unsolicited, unprompted statements to Deputy Brown every

five to eight minutes. (Tr. at 67, 69.)8 Defendant asked

Deputy Brown about Mrs. Alvarez, his animals, other

people, and his property. (kL at 67,69,74-75.) Defendant

also referenced another patrol car driving six to seven car

      7SA Mueller instructed Deputy Brown to transport Defendant
to the Floyd County Jail because the DEA has a contract with the
Floyd County Jail to house federal defendants. (Tr. at 35, 65.)
     8Police radio traffic was audible during the drive; however,
information coming over the radio did not prompt Defendant's
comments. (Tr. at 67.)
                                    16
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 17 of 36




lengths ahead of Deputy Brown. (kt at 68.) Deputy Brown

answered Defendant's questions, but did not re-Mirandize

him.    (kt at 74-75.)        During the trip, Defendant asked

Deputy Brown if he had gone to "Gerald's" house, and

Deputy Brown responded, "Gerald who?" (kt at 76-78.)

       Deputy Brown characterized Defendant's demeanor

during the drive as curious, and testified that Defendant did

not appear intoxicated, ill, sick, or sleepy. (Tr. at 68-69.)

During the trip, however, Defendant alternated between

sitting and lying on the back seat. (kt at 74.) Additionally,

while transporting Defendant, Deputy Brown did not point a

firearm at him, drive erratically, threaten or yell at him, make

any promises to him, treat him inhumanely, or ask him

additional questions. (kt at 68-70.)

                                    17
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 18 of 36




      D.    Procedural Background

      On July 20, 2010, a federal grand jury sitting in the

Northern District of Georgia returned a five-count Indictment

with a forfeiture provision against Defendant and a co­

defendant, Jesse Wilburn Peardon, concerning conduct

allegedly occurring in this District. 9 Count One alleged that,

at least by June 1, 2005, and continuing up to and including

June 30, 2010, Defendant and Mr. Peardon knowingly

conspired to possess with intent to distribute oxycodone, in

violation of21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

(Indictment Count One.) Count Three charged that, on or

about May 27,2010, the co-defendants, aided and abetted

     9Counts Two and Five of the Indictment only concern
Defendant Peardon, and therefore are not relevant to Defendant or
to Defendant's Motion to Suppress Statements. (Indictment Counts
Two & Five.)
                                    18
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 19 of 36




by each other, knowingly distributed oxycodone, in violation

of 18 U.S.C. § 2 and 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C),

and 846. (ld.,. Count Three.) Finally, Count Four charged

that, on or about June 15, 2010, Defendant and Mr.

Peardon, aided and abetted by each other, knowingly

distributed oxycodone, in violation of 18 U.S.C. § 2 and 21

U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.                  (ld.,. Count

Four.)

      On February 1,2011, a federal grand jury sitting in the

Northern District of Georgia returned a First Superseding

Indictment against Defendant and twelve co-defendants.

(Docket Entry No. 53.) Count One of the First Superseding

Indictment charges Defendant and his co-defendants with

conspiring to possess with intent to distribute oxycodone, in

                                    19
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 20 of 36




violation of21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.

(First Superseding Indictment Count One.) Count Three of

the First Superseding Indictment charges Defendant and

Mr. Peardon with knowingly distributing oxycodone, in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846

and 18 U.S.C. § 2, on or about May 27,2010. (kl Count

Three.) Count Four of the First Superseding Indictment

charges that Defendant and Mr. Peardon knowingly

distributed oxycodone on or about June 15, 2010, in

violation of 18 U.S.C. § 2 and 21 U.S.C. §§ 841 (a)(1),

841(b)(1)(C), and 846. (kl Count Four.) Count Eleven of

the First Superseding Indictment charges Defendant and his

co-defendants with money laundering, in violation of 18

U.S.C. § 1956. (kl Count Eleven.) The First Superseding

                                    20
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 21 of 36




Indictment also contains a forfeiture provision.                       (kl

Forfeiture Provision.)10

      On August 27, 2010, Defendant filed a Motion to

Suppress Statements.              (Docket Entry No. 33.)               On

November 10, 2010, Judge Johnson held an evidentiary

hearing concerning the Motion to Suppress Statements.

(Docket Entry No. 43.)

      On February 4,2011, Judge Johnson issued his Non-

Final Report and Recommendation.                  (Docket Entry No.

114.) Judge Johnson recommends that the Court deny the

Motion to Suppress Statements. (kl)




      lOCounts Two, Five, Six, Seven, Eight, Nine, and Ten of the
First Superseding Indictment do not involve alleged criminal
conduct by Defendant, and consequently are not material for
purposes of the instant Motion.
                                    21
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 22 of 36




      Defendant has filed Objections to the Non-Final Report

and Recommendation. (Docket Entry No. 120.) The Court

finds that no response to the Objections from the

Government is necessary, and concludes that this matter is

ripe for resolution by the Court.

II.   Discussion

      A.   General Standards Governing Admissibility of
           a Defendant's Statements

      Before a jury may hear evidence of a defendant's

confession or self incriminating statements, a defendant has

a constitutional right to a fair hearing and to an independent

and reliable determination of the voluntariness of those

statements.       Jackson v. Denno, 378 U.S. 368, 376-77

(1964). "[T]he trial judge shall, out of the presence of the


                                    22
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 23 of 36




JUry, determine any issue as to voluntariness."                  United

States v. Davidson, 768 F.2d 1266, 1270 n.1 (11th Cir.

1985) (explaining that 18 U.S.C. § 3501 (a) codified Jackson

v. Denno requirement for criminal prosecutions).

      In Miranda v. Arizona, 384 U.S. 436 (1966), the

Supreme Court noted that, "when an individual is taken into

custody or otherwise deprived of his freedom by the

authorities in any significant way and is subjected to

questioning, the privilege against self-incrimination is

jeopardized." 384 U.S. at 478. The Court consequently

held that the procedural safeguard of warning the suspect

of his constitutional rights must be instituted to protect the

privilege. ki. at 478-79. Those so-called Miranda warnings

"are required before any statement may be admitted into

                                   23
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 24 of 36




evidence at trial which was elicited from a person in custody

through interrogation." Endress v. Dugger, 880 F.2d 1244,

1248 (11th Cir. 1989).            When determining whether a

confession or self-incriminating statement is admissible

because of a defendant's waiver of his Miranda rights, a

court must conduct a two-part inquiry. A Miranda waiver is

valid only if the totality of the circumstances show both of

the following: (1) an uncoerced choice and (2) an

awareness "of both the nature of the right being abandoned

and the consequences of the decision to abandon it."

Moran v. Burbine, 475 U.S. 412, 421 (1986).

      Even if the Government has complied with Miranda's

requirements, the Court also must consider whether the

confession or self-incriminating statement was voluntary.

                                    24
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 25 of 36




United States v. Jones, 32 F.3d 1512, 1516 (11th Cir. 1994)

(per curiam); United States V. Sims, 719 F.2d 375, 378

(11th Cir. 1983) (per curiam). When determining whether

statements were voluntary, the Court examines the "totality

of the circumstances,            including the details of the

interrogation and the defendant's characteristics." United

States v. Bernal-Benitez, 594 F.3d 1303, 1319 (11th Cir.

2010). The goal of that inquiry is to determine whether

police overreached, considering factors such as "the

[accused's] lack of education, or his low intelligence, the

lack of any advice to the accused of his constitutional rights,

the length of detention, the repeated and prolonged nature

ofthe questioning, and the use of physical punishment such




                                   25
     Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 26 of 36




     as the deprivation of food or sleep." kl (internal quotations

     and citations omitted) (alteration in original).

           Voluntary incriminating statements that are not made

     in response to custodial interrogation,l1 however, are

     admissible. Innis, 446 U.S. at 299-300; United States v.

     Ganela, 144 F. App'x 17,22 (11th Gir. 2005) (per curiam);

     United Statesv. Suggs, 755 F.2d 1538,1541 (11th Gir.

     1985). Similarly, Miranda is not implicated where an officer

     responds to a defendant's voluntary statement by asking for

     clarification. United States v. Villegas-Tello, 319 F. App'x

     871, 875-76 (11th Gir. 2009) (per curiam).



           lI"lnterrogation" is defined as express questioning or the
     functional equivalent-"any words or actions on the part of the police
     ... that the police should know are reasonably likely to elicit an
     incriminating response." Rhode Island v. Innis, 446 U.S. 291,300­
     01 (1980).
                                         26
II
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 27 of 36




      B.    Discussion

      The Court first determines whether Defendant

knowingly and intelligently waived his Miranda rights and

whether Defendant's subsequent statements to police that

he made at the Residence were voluntary. The Court then

examines whether Defendant's later statements, which he

made while in transit to the Floyd County Jail, were

voluntary or resulted from additional interrogation by Deputy

Brown.

            1.   Defendant's    Miranda Waiver                         and
                 Statements At the Residence

      The Court agrees with Judge Johnson that "the first

Miranda prong was satisfied."               (Non-Final Report and

Recommendation at 15.)                As Judge Johnson noted,


                                    27
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 28 of 36




Defendant does not argue that law enforcement failed to

give him a Miranda warning or that his waiver was coerced.

(.!.d...)12 Instead, Defendant contends that the second prong

was not met because Defendant could not have knowingly

and intelligently waived his rights while under the influence

of drugs and in pain. For those same reasons, Defendant

also argues that his subsequent statements made in the

Residence were involuntary.




      12As Judge Johnson observed, the hearing testimony supports
a finding that the first Miranda prong was satisfied. (Non-Final
Report & Recommendation at 15 n .11.) The testimony reflects that,
prior to any questioning, SA Shelton orally provided a Miranda
warning to Defendant and summarized the Miranda rights in plain
language in the presence of Deputy Brown. (Tr. at 14-16, 63-64.)
The testimony also indicates that no officer made any threats or
promises to Defendant, yelled at him or treated him inhumanely, or
brandished a weapon after the Residence was secured. (kL at 9,
14-18,34,36-37.)
                                    28
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 29 of 36




     As Judge Johnson observed: "The test of whether a

person is too affected by alcohol, drugs, or pain to

voluntarily and intelligently waive his Miranda rights is one

of coherence and an understanding of what is happening."

(Non-Final Report & Recommendation at 16 (collecting

cases).) Notwithstanding Defendant's Objections, the Court

agrees with Judge Johnson that, "despite [Defendant]'s

ingestion of oxycodone the previous night and his pain, the

hearing testimony supports a finding that he was coherent

and cognizant of the situation when he waived his Miranda

rights and spoke with SA Mueller." (kL) As Judge Johnson

observed:

     [Defendant] was alert and awake when the officers
     entered his home at 7:00 a.m. on June 30, 2010,
     opening the back door of the [R]esidence as
     officers approached. After being moved to the
                                   29
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 30 of 36




      living room, [Defendant] asked SA Shelton in a
      polite, conversational manner what was going on,
      what the officers were looking for, and why they
      came to his home. (See Tr. 13, 18, 57-61, 62-63,
      71.)     Although the hearing testimony revealed
      that [Defendant] was in poor physical health, he
      was consistently conscious and did not appear
      intoxicated, slur his speech, fall asleep, or pass
      out. (klat 13,31,40,52,54,73.)

           Moreover, after SA Shelton administered the
      Miranda rights, [Defendant] stated that he
      understood his rights and repeated his desire to
      "know what's going on."              (Tr. 15-16.)
      [Defendant]'s express oral statement waiving
      those rights is "strong proof of the validity of that
      waiver." See North Carolina v. Butler, 411 U.S.
      369, 373 (1979). Likewise, when SA Mueller
      arrived ten to twenty minutes later, [Defendant]
      was able to focus on the questions asked and to
      respond with coherent answers. (Tr. 31, 52, 54.)
      Although [Defendant] complained in general terms
      that he was not feeling well and thought that he
      was passing a kidney stone, he did not ask SA
      Mueller to stop the questioning or request medical
      attention. (kl at 40, 52-53, 63, 73.) Rather, he
      asked for a T-shirt and a Zantac, both of which SA
      Mueller gave to [Defendant]. (kl at 35-36, 46, 51­
                                    30
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 31 of 36




     52.) Moreover, after conversing with SA Mueller
     for approximately ten minutes, [Defendant]
     invoked his right to counsel and stopped the
     interrogation. (JJi at 34, 49.)

          The undersigned accepts SA Mueller's
     testimony that narcotics have varying effects on
     people depending on their individual drug history.
     (See Tr. 30.) However, there is no probative
     evidence that [Defendant's] statements were
     involuntary.      Without more, [Defendant's]
     contention that he ingested oxycodone the
     previous evening and was in pain does not
     invalidate his Miranda waiver or make his
     subsequent statements involuntary. Indeed, by
     invoking his right to remain silent and his right to
     counsel, [Defendant] demonstrated that he
     understood the Miranda warning and was
     cognizant of the situation, ending his conversation
     with SA Mueller when it suited him.

(JJi at 16-18.)

     The Court agrees with Judge Johnson's reasoning and

findings, and concludes that, considering the totality of the

circumstances, Defendant made a knowing, voluntary, and
                                   31
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 32 of 36




intelligent waiver of his Miranda rights, followed by voluntary

statements to SA Mueller at the Residence. The Court

therefore adopts this portion of the Non-Final Report and

Recommendation, overrules Defendant's corresponding

Objections, and denies Defendant's Motion to Suppress

Statements with respect to the statements made at the

Residence.

           2.    Defendant's Statements While in Transit

     After the officers took Defendant into custody, Deputy

Brown transported Defendant from the Walker County

Sheriff's Office to the Floyd County Jail, a fifty-minute drive.

(Tr. at 35, 64-65, 74.)            During that time, Defendant

repeatedly made unsolicited statements to, and voluntarily

asked questions of, Deputy Brown, and Deputy Brown

                                    32
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 33 of 36




answered Defendant's question. (kL at 67, 69, 74-75.) At

some point, Defendant asked Deputy Brown if the officers

had gone to "Gerald's" house. (kL at 76-78.) Deputy Brown

responded by asking Defendant, "Gerald who?" (kL)

      Notwithstanding Defendant's Objections, the Court

agrees with Judge Johnson that the statements made by

Defendant while he was in transit to the Floyd County Jail

are admissible. As Judge Johnson noted, U[t]here is no

dispute that [Defendant] was in custody at the time and that

he had invoked his right to remain silent and to counsel."

(Non-Final Report & Recommendation at 19.) As Judge

Johnson recognized, however, "voluntary comments in the

absence       of,   or   unresponsive to,          law enforcement

questioning are admissible even after Miranda rights are

                                    33
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 34 of 36




asserted." (kl) The Court agrees with Judge Johnson that

Defendant's "post-arrest statements and questions were

spontaneous and not in response to interrogation by Deputy

Brown."       (kl)    The Court further agrees with Judge

Johnson's observation that:

      Deputy       Brown's   single question-'Gerald
      who?'-cannot be characterized as an interrogation
      or an attempt to elicit an incriminating response
      from [Defendant]. Rather, it appears to be a
      reflexive follow-up question asked for the sake of
      clarification. The Eleventh Circuit has held that
      Miranda does not reach such situations.

(kl at 19-20 (collecting cases).) Judge Johnson therefore

properly determined that the statements Defendant made

while in transit to the Floyd County Jail were admissible.

      For the reasons discussed above, the Court agrees

with Judge Johnson that the statements Defendant made

                                    34
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 35 of 36




while in transit to the Floyd County Jail were admissible.

The Court therefore adopts this portion of the Non-Final

Report and Recommendation, overrules Defendant's

corresponding Objections, and denies this portion of the

Motion to Suppress Statements.




                                    35
Case 4:10-cr-00032-HLM-WEJ Document 139 Filed 02/10/11 Page 36 of 36




III. Conclusion

     ACCORDINGLY, the Court ADOPTS the Non-Final

Report and Recommendation of United States Magistrate

Judge Walter E. Johnson [114], OVERRULES Defendant's

Objections to the Non-Final Report and Recommendation

[120], and DENIES Defendant's Motion to Suppress

Statements [33].

      IT IS SO ORDERED, this the             -f2- day of February,
2011.




                                    36
